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UNITEI) sTATEs DISTRICT COURT _ _
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WESTERN DISTRICT OF TENNESSEE
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U.S.A. vs. Terrence Graham Docket No. 2:01CR20053-04

 

 

Petition on Probation and Supervised Release

COMES NOW glice Conley PR()BATION OFFICER OF THE COURT presenting an of`Iicial report
upon the conduct and attitude of Terrence Graham who was placed on supervision by the Honorable Julia S.
Gibbons sitting in the court at Megrphis, TN , on the 12th day of October, 2001 who fixed the period of
supervision at four 141 years , and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

l. The defendant shall serve (6) months horne detention (completed).

2. The defendant shall make restitution in the amount of $8,327.98. (Balance $5,727.98)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:
(If short insert hora; if lengthy write on separate sheet and attach)
Terrence Graham fits the criteria for early termination recommended by the ludicial Conference Comrnittee on
Crirninal Law. He has made progressive strides toward achieving supervision objectives and appears to pose no risk
to public safety Mr. Graham has paid $2,600.00 toward his restitution and has made a good faith effort to satisfy
this obligation He has an outstanding restitution balance of $5,727.98. 1

Camille McMullin, Assistant United States Attorney, expressed no objection to early termination of Mr. Graham’s

supervision

PRAYING THAT THE COURT WILL ORDER that Terrence Graham be discharged from supervision with the
understanding that the United States Attorney’s Office Will be responsible for the continued collection of restitution

 

ORDER ()F COURT Respectfully,
Considered and ordered this 231 day w
of g f big , 200_$_ and ordered Alice Conley, Supervisirig/T
filed and made part of the records in U.S. Probation Oii‘icer

the above case.

  
 

 

Place: MernDhis. TN

   

States District Judge Da<tg: April 26_ 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 667 in
case 2:0]-CR-20053 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

